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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF GEORGIA
                                   VALDOSTA DIVISION

TEMIRIA THOMAS, on behalf of herself and           *
her minor child, A.W.,
                                                   *
                      Plaintiffs,                      Case No.7:20-CV-14(HL)
v.                                                 *

WIL COPE,                                          *

                  Defendant.                       *
___________________________________

                                       JUDGMENT

       Pursuant to this Court’s Order dated October 22, 2021, and for the reasons stated therein,

JUDGMENT is hereby entered in favor of Defendant.               Plaintiffs shall recover nothing of

Defendant. Defendant shall also recover costs of this action.

        This 22nd day of October, 2021.

                                             David W. Bunt, Clerk


                                             s/ S. B. DeCesare, Deputy Clerk
